               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Case No. 20-cv-954

FARHAD AZIMA,

       Plaintiff,                           RESPONSE TO DEFENDANTS’
                                            MOTION FOR EXTENSION OF
       v.                                      TIME TO RESPOND TO
                                                   DISCOVERY
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.


      Plaintiff Farhad Azima (“Plaintiff”) submits this response to the Motion

of Defendants Nicholas Del Rosso (“Del Rosso”) and Vital Management

Services, Inc. (“VMS”; collectively with Del Rosso, “Defendants”) for Extension

of Time to Serve Responses to Plaintiff’s First Set of Requests for Production.

DE 100 (the “Motion”).

                              INTRODUCTION

      Plaintiff served his first set of document requests on November 22, 2022,

more than two years after filing this case in October 2020. Plaintiff also noticed

Del Rosso’s deposition for January 10, 2022.          On December 16, 2022,

Defendants sought to delay the deposition. Then, four days later, they moved

for an extension of time to produce documents until January 11, 2022 – one

day after the scheduled deposition.




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      On December 22, 2022, Defendants served their “Objections and

Responses to Plaintiff Farhad Azima’s First Set of Requests for Production.”

but failed to produce a single document on the due date. Defendant’s responses

were merely a list of blanket objections. Exhibit 1. As part of their response,

Defendants stated that “Defendants are not producing any documents in

response to these requests.” Id. at 2 n.1.

      Plaintiff has attempted—unsuccessfully—to meet and confer with

Defendants about their failure to produce documents and their motion for

extension. During a conference on December 30, 2022, Defendants refused to

discuss their deficient document production. On January 9, 2023, Plaintiff

asked whether Defendants would be producing documents on January 11,

2023, consistent with their motion. Defendants did not respond. Defendant’s

failure to produce a single document is part of an overall pattern of delay and

refusal to participate in the discovery process.

      Since Defendants have declined to meet and confer about the issues

related to their discovery responses, Plaintiff seeks clarity about whether

Defendants are seeking: (i) an extension to serve responses and objections to

Defendants’ discovery requests, in which case the motion is moot because




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Plaintiff served responses on December 22;1 (ii) an extension to produce

documents until January 11, 2023, in which case Plaintiff does not oppose the

motion if Defendants produce all responsive and non-privileged documents on

January 11, 2023; or (iii) an indefinite extension of time to produce documents

at some later unspecified date, in which case Plaintiff opposes the motion for

the reasons stated below.

                                 ARGUMENT

      “When an act may or must be done within a specified time, the court

may, for good cause, extend the time[.]” Fed. R. Civ. P. 6(b)(1). “Good cause is

a legal term of art” that “refers to a legally sufficient ground or reason based

on all relevant circumstances.” Robinson v. G D C, Inc., 193 F. Supp. 3d 577,

580 (E.D. Va. 2016); see also Soc. Enter., LLC v. S. Belle Organics, LLC, No.

7:20-CV-166-FL, 2022 WL 4084414, at *3 (E.D.N.C. Sept. 6, 2022) (“‘Good

cause’ is a flexible concept dependent on the circumstances of each case, but

the United States Court of Appeals for the Fourth Circuit has repeatedly held

that the term properly focuses on the reason given by the tardy movant.”).

      Defendants moved for a twenty-day extension of time to respond to

Plaintiff’s first set of document requests and stated that “[c]ounsel for



      1 Defendants’ responses and objections are deficient for several reasons, and
Plaintiff reserves the right the challenge the adequacy and completeness of those
responses as described above.


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Defendants require additional time to prepare responses as Defendants’

counsel has been dealing with competing deadlines and obligations in, among

other things, Plaintiff’s other related matters brought against Defendants.”

ECF No. 100, ¶ 3. Defendants then responded to the requests for production

without producing a single document in connection with their responses.

Defendants’ motion should be denied for several reasons.

      First, Defendants have no “good cause” to delay responding to discovery

requests and to avoid producing even a single responsive document more

than two years after Plaintiff filed this action. For example, Defendants must

have collected and reviewed at least some relevant and responsive documents

to answer the complaint, allege affirmative defenses, serve initial disclosures,

move for a blanket protective order, see ECF No. 101, and negotiate and file a

Rule 26(f) Report, see ECF No. 90. Defendants levied numerous (false and

inflammatory) allegations about Plaintiff in their proposed Rule 26(f) report,

and Plaintiff presumes that Defendants have some documents that they

believe support those allegations. See ECF No. 90 at 3-4. Similarly,

Defendants’ position supporting a broad protective order suggests that

Defendants believe they have documents to produce that warrant protection

under Rule 26(c). See Local Rule 26.2; see also ECF No. 102 at 5 (claiming that

“discovery will likely involve . . . Defendants’ private and confidential

information”). Under Local Rule 26.2, a protective order is only warranted if

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Defendants can “demonstrate with specificity” that information provided in

discovery should be protected because “the information qualifies for protection

under Rule 26(c)” and “good cause exists for restricting dissemination on the

ground that harm would result from its disclosure.” Local Rule 26.2(a)(i) – (ii).

Defendants must therefore have collected and reviewed some documents that

will be produced in discovery before moving the Court to enter a protective

order.

         Defendants—represented by a national law firm and with five counsel of

record—offer no details about why they need an extension to produce

documents in response to fifteen document requests. Defendants do not, for

example, indicate that they have collected and need to review a large number

of documents or are undertaking an extensive privilege review. See Williams

v. Estates, LLC, No. 1:19CV1076, 2020 WL 12443346, at *3 (M.D.N.C. Dec. 29,

2020) (“Defendants’ cursory, unparticularized arguments about the burden of

producing such documents are not persuasive” because “Defendants have not

attached affidavits or evidentiary proof describing the burden of responding to

Plaintiffs’ request.”); Kinetic Concepts, Inc. v. ConvaTec Inc., 268 F.R.D. 226,

249 (M.D.N.C. 2010) (rejecting as insufficient a “one-line statement in a brief

(which fails to allege, much less establish, that the requested production would

cost a substantial amount of money or pose real logistical difficulties)”).




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      Second, Defendants’ blanket refusal to produce any documents or to

propose any date for production (on a rolling schedule or otherwise) violates

Rule 34. See Fed. R. Civ. 34(b)(2)(B) (“The production must then be completed

no later than the time for inspection specified in the request or another

reasonable time specified in the response.”). The 2015 Advisory Committee

Notes on Rule 34 explain that production “must be completed either by the

time for inspection specified in the request or by another reasonable time

specifically identified in the response” and that “[w]hen it is necessary to make

the production in stages the response should specify the beginning and end

dates of the production.” Defendants make no effort whatsoever to provide any

of this required information.

      Third, Defendants’ Motion is part of a broader pattern of delay in this

case. Defendants have repeatedly sought to postpone any progress throughout

the more than two years this case has been pending, and this motion is yet

another procedural attempt to delay Plaintiff’s claims from being heard.

Nevertheless, counsel for Plaintiff offered to agree to the requested extension

if (1) Defendants agreed to serve written objections and responses by the

proposed date (which they ultimately did); and (2) Defendants agreed to

produce responsive documents on a rolling basis as they become available.

Counsel for Defendants rejected this offer, refused to produce documents, and

declined to meet and confer. Their recent filings confirm that Defendants

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intend to stand on sweeping objections rather than engage in good faith in

discovery.

      Defendants’ position is wholly at odds with the letter and spirit of the

relevant Rules of Civil Procedure. The Court should deny Defendants’ motion

and direct Defendants to commence document production immediately.

                              CONCLUSION

      Based on the foregoing reasons, Plaintiff requests that the Court deny

Defendants’ motion for extension and order Defendants to produce all

responsive, non-privileged documents immediately.

      This, the 10th day of January, 2023.

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                   CERTIFICATE OF WORD COUNT
     I certify under LR 7.3(d)(1) that the body of this Response, including any

headings and footnotes together, contains fewer than 3,500 words, as reported

by the word count feature in Microsoft Word.



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              IN THE UNITED STATES DISTRICT COURT
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FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.




      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
Notice to the following attorneys:
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 This, the 10th day of January, 2023.

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